Case 2:04-cr-20180-.]DB Document 47 Filed 05/26/05 Page 1 of 2 Page|D 59

IN THE UNITED STATES DISTRICT COURT
F`OR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

UNlTED STATES OF AMERICA,

 

Plaintiff,
vs. No. 04-20180-B
JEFFREY DOTY,

Del`endant.

 

ORDER ON DEFENDANT’S M()TION TO I)ECLARE INDIGENCY

 

'l`he Court i`mds and hereby orders that defendant, Jeffrey Doty., is financially unable to
obtain adequate representation for purpose of his appeal to the United States Court ol`Appeals for

the Sixth Cireuit in accordance with 18 U.S.C. 3006A(l) and is hereby declared indigent

 

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This notice confirms a copy of the document docketed as number 47 in
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Stephen R. Leftler
LEFFLER LAW OFFICE
707 Adams Ave.
l\/lemphis7 TN 38105

Dan NeWsom

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

